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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 IN RE                                           )
                                                 )
 ALEXANDER E. JONES                              )     CASE NO. 22-33553
                                                 )
                DEBTOR.                          )     (CHAPTER 11)
                                                 )
                                                 )     JUDGE CHRISTOPHER M. LOPEZ

  ORDER GRANTING APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
  THE RETENTION AND EMPLOYMENT OF JORDAN & ORTIZ, P.C. AS DEBTOR
          CO-COUNSEL EFFECTIVE AS OF THE PETITION DATE

         Upon the Application (the “Application”) of the Debtor for entry of an order (this

“Order”) authorizing the retention and employment of JORDAN & ORTIZ, P.C. (the “Firm” or

“J&O”) as co-counsel to the Debtor beginning on the Petition Date (the “Petition Date”), as more

fully described in the Application; the Court having reviewed the Application, and the declaration

of Shelby A. Jordan, a shareholder of Jordan & Ortiz, P.C., attached to the Application as Exhibit

B (the “Jordan Declaration”); and the Court being satisfied, based on the representations made

in the Application and the Jordan Declaration that J&O is “disinterested” as such term is defined

in Bankruptcy Code section 327(a), and that J&O represents no interest adverse to the Debtor’s

estate; and the Court having found that this matter is a core proceeding pursuant to U.S.C. 157

and §§ 1334 (b); and the Court having found that this matter is a core proceeding pursuant to 28

U.S.C § 157(b)(2), and the Court having found that venue of this proceeding and the Application

in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having determined

that the relief requested in the Application is in the best interests of the Debtor, its estate, its

creditors, and other parties in interest; and it appearing that proper and adequate notice of the




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Application has been given and that no other or further notice is necessary; and upon the record

herein; and after due deliberation thereon; and good and sufficient cause appearing therefore,

       IT IS ORDERED, ADJUDGED AND DECREED THAT:

       1.      The Application is GRANTED as set forth herein.

       2.      All objections to the entry of this Order, if any and to the extent not withdrawn or

settled as reflected in this Order, are overruled.

       3.      Pursuant to Bankruptcy Code section 327(a), Bankruptcy Rules 2014(a) and 2016,

and Local Rules 2014-1 and 2016-1, the Debtor is authorized to retain and employ J&O as co-

counsel in this Case in accordance with J&O’s hourly rates and disbursement policies nunc pro

tunc to the Petition Date.

       4.      J&O is authorized to render the professional services described in the Application

and the Jordan Declaration.

       5.      J&O shall be compensated in accordance with the procedures set forth in

Bankruptcy Code sections 328, 330, and 331, and applicable Bankruptcy Rules, and Local Rules,

and such other procedures as may be fixed by order of the Court.

       6.      Notwithstanding anything to the contrary in the Application, J&O will not seek

reimbursement of expenses for office supplies, any secretarial charges, or other administrative

overtime or overhead charges.

       7.      J&O shall apply all amounts being held as a retainer towards fees, costs and

expenses that are approved for payment by the Court until the retainer is exhausted prior to seeking

reimbursement from the Debtor’s estate. At the conclusion of this case or of J&O’s engagement

by the Debtor during this case, if the amount of any retainer held by J&O is in excess of the amount

of J&O’s outstanding and Court-approved fees, expenses, and costs, J&O will return the amount

to Debtor by which any such retainer exceeds such Court-approved approved fees, expenses, and

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    costs.

              8.    Prior to any increase in J&O rates for any individual employed by J&O and

    providing services in the Case, J&O shall file a supplemental declaration with the Court and

    provide ten business days’ notice to the Debtor, the United States Trustee, Counsel for the Official

    Committee of Unsecured Creditors, Counsel to the Connecticut Plaintiffs, and Counsel to the Texas

    Plaintiffs.1 The supplemental declaration shall explain the basis for the requested rate increases in

    accordance with Bankruptcy Code section 330(a)(3)(F) and state whether the Debtor has consented

    to the rate increase. The U.S. Trustee retains all rights to object to any rate increase on all grounds,

    including the reasonableness standard set forth in Bankruptcy Code section 330, and the Court

    retains the right to review any rate increase pursuant to Bankruptcy Code section 330.

              9.    J&O shall use its best efforts to avoid any duplication of services provided by any

    of the Debtor’s other retained professionals in the Case.

              10.   This Order is without prejudice to J&O filing jointly with co-counsel a Motion for

    an Order Establishing Procedure for Interim Compensation and Reimbursement of Expenses of

    Retained Professionals similar to the Motion and Order approved in the affiliate case In re: Free

    Speech Systems, LLC, case # 22-60043 [Dkt# 202] which Motion, when filed, will be considered

    at that time.

             11.    To the extent that J&O uses the services of contract attorneys in this case, J&O (i)

shall pass-through the cost of such contract attorneys to the Debtor at the same rate that J&O pays

the contract attorneys; (ii) shall seek reimbursement for actual out-of-pocket expenses only; and (iii)

shall ensure that the contract attorneys are subject to the same conflict checks and disclosures as

required of J&O by Bankruptcy Rule 2014.



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 As such Notice Parties are defined in the Order Granting Motion for Entry of an Order Establishing Procedures for
Interim Compensation and Reimbursement of Expenses for Chapter 11 Professionals.

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       12.      To the extent the Application, Jordan Declaration, or any engagement letter between

the Debtor and J&O is inconsistent with this Order, the terms of this Order shall govern during the

pendency of this chapter 11 case.

        13.     This Court shall retain jurisdiction over any and all matters arising from the

 interpretation, implementation, or enforcement of this Order.


Dated: ___________, 2023                    _______________________________________
                                            UNITED STATES BANKRUPTCY JUDGE




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